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 8                           UNITED STATES DISTRICT COURT

 9                        CENTRAL DISTRICT OF CALIFORNIA

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11   DANIEL EUGENE FRAZER,         )       NO. ED CV 19-1347-DSF(E)
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )       ORDER ACCEPTING FINDINGS,
                                   )
14   NEIL McDOWELL, Warden,        )       CONCLUSIONS AND RECOMMENDATIONS OF
     et al.,                       )
15                                 )       UNITED STATES MAGISTRATE JUDGE
                    Defendants.    )
16   ______________________________)

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18         Pursuant to 28 U.S.C. section 636, the Court has reviewed the

19   First Amended Complaint, all of the records herein and the attached

20   Report and Recommendation of United States Magistrate Judge.      Further,

21   the Court has engaged in a de novo review of those portions of the

22   Report and Recommendation to which any objections have been made.      The

23   Court accepts and adopts the Magistrate Judge’s Report and

24   Recommendation.

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26         IT IS ORDERED that Judgment shall be entered dismissing the

27   action without prejudice.

28   ///
 1        IT IS FURTHER ORDERED that the Clerk serve forthwith a copy of

 2   this Order and the Judgment of this date on Plaintiff and counsel for

 3   Defendants.

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 5             DATED: September 23, 2019.

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                                                DALE S. FISCHER
 9                                       UNITED STATES DISTRICT JUDGE

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